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                      1    FordHarrison LLP
                           Terry L. Higham (SBN 150726)
                      2    Mohammad B. Shihabi (SBN 337819)
                           350 South Grand Avenue
                      3    Suite 2300
                           Los Angeles, CA 90071
                      4    Tel: (213) 237-2400
                           Fax: (213) 237-2401
                      5    tlhigham@fordharrison.com
                           mshihabi@fordharrison.com
                      6
                           Attorneys for Defendant
                      7    WALMART INC.
                      8    THE GUHA LAW FIRM
                           Ranojoy Guha (SBN CA 315968)
                      9    1100 Town and Country Road
                           Suite 1250
                     10    Orange, CA 92868
                           raj@guhalaw.com
                     11    Tel: (310) 564-6041
                           Fax: (415) 707-2010
                     12
                           Attorney for Plaintiff
                     13    DELIA GONZALES
                     14

                     15                        UNITED STATES DISTRICT COURT
                     16                      CENTRAL DISTRICT OF CALIFORNIA
                     17

                     18   DELIA GONZALES; Plaintiff,               Case No. 5:21-cv-01231-SVW-SHK
                     19                   Plaintiff,
                                                                   Honorable Shashi H. Kewalramani
                     20   v.                                       U.S. Magistrate Judge
                     21   WALMART, INC., a Delaware                [PROPOSED] PROTECTIVE
                          Corporation; and DOES 1 through 50,      ORDER ON ESI AGREEMENT
                     22   inclusive,                               AND PRODUCTION PROTOCOL
                     23                   Defendants.
                     24
                                                                   Action filed:    4/28/2021
                     25                                            Date of Removal: 7/23/2021
                     26

                     27         The parties have agreed to and have submitted to the Court, and for good
                     28   cause shown the Court hereby enters, the following Confidentiality Order:
F ORD & H ARRISON
       LLP                                                                      [PROPOSED] PROTECTIVE ORDER ON ESI
 ATTO RNEY S AT LAW                                                           AGREEMENT AND PRODUCTION PROTOCOL
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                      1           1.    This Order shall govern the disclosure of materials designated as
                      2   Confidential Material in this litigation. Confidential Material, as used in this Order,
                      3   shall refer to any document or item designated as Confidential or Highly
                      4   Confidential – Attorneys’ Eyes Only, including but not limited to, documents or
                      5   items produced during discovery, all copies thereof, and the information contained
                      6   in such material.    Nothing in this Order shall require any party to produce any
                      7   specific documents or category of documents which a party deems inappropriate for
                      8   production.
                      9   Good Cause Statement
                     10           2.    This action is likely to involve various categories of confidential
                     11   information. Discovery in this action which seeks money damages will likely seek
                     12   non-public, private information from both parties and nonparties, including, but not
                     13   limited to, Defendant’s current and former employees, relative to those individuals’
                     14   last known contact address information.         The need for disclosure in this case is
                     15   balanced against the need to protect that information from disclosure to any
                     16   interests and individuals outside those individuals specifically described herein.
                     17   Accordingly, to expedite the flow of information, to facilitate the prompt resolution
                     18   of disputes over confidentiality of discovery materials, to adequately protect
                     19   information the parties are entitled to keep confidential, to ensure that the parties
                     20   are permitted reasonable necessary uses of such material in preparation for and in
                     21   the conduct of trial, to address their handling at the end of the litigation, and serve
                     22   the ends of justice, the parties submit that a protective order for such information is
                     23   justified in this matter.   It is the intent of the parties that information will not be
                     24   designated as “Confidential” for tactical reasons and that nothing be so designated
                     25   without a good faith belief that it has been maintained in a confidential, non-public
                     26   manner, and there is “good cause” within the meaning of applicable law why it
                     27   should not be part of the public record of this case.
                     28   / / /
F ORD & H ARRISON
       LLP                                                                          [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   Definitions of Confidential Material
                      2         3.     Confidential Material, as used in this Order, consists of the following
                      3   materials and categories of materials:
                      4                a. Materials relating to any privileged, confidential, or
                                       nonpublic information, including, but not limited to, trade
                      5                secrets, research, design, development, financial,
                                       technical, marketing, planning, personal, or commercial
                      6                information, as such terms are used in the Federal Rules
                                       of Civil Procedure (Fed. R. Civ.) (and any applicable case
                      7                law interpreting Fed. R. Civ. 26(c)(1)(G)); contracts; non-
                                       public compilations of retail prices; proprietary
                      8                information; vendor agreements; personnel files;
                                       claim/litigation information; and nonpublic policies and
                      9                procedures shall be deemed Confidential.
                     10                b. Materials containing corporate trade secrets, nonpublic
                                       research and development data, including, but not limited
                     11                to, cost data, pricing formulas, inventory management
                                       programs, and other sales or business information not
                     12                known to the public; information obtained from a non-
                                       party pursuant to a non-disclosure agreement; and
                     13                customer-related Protected Data shall be deemed Highly
                                       Confidential – Attorneys’ Eyes Only.
                     14
                                       c. Protected Data shall refer to any information that a
                     15                party believes in good faith to be subject to federal, state
                                       or foreign data protection laws or other privacy
                     16                obligations. Examples of such data protection laws
                                       include but are not limited to The Gramm-Leach-Bliley
                     17                Act, 15 U.S.C. § 6801 et seq. (financial information); and,
                                       The Health Insurance Portability and Accountability Act
                     18                and the regulations thereunder, 45 CFR Part 160 and
                                       Subparts A and E of Part 164 (medical information).
                     19                Certain Protected Data may compel alternative or
                                       additional protections beyond those afforded Highly
                     20                Confidential – Attorneys’ Eyes Only material, in which
                                       event the parties shall meet and confer in good faith, and,
                     21                if unsuccessful, shall move the Court for appropriate
                                       relief.
                     22
                          The parties shall not designate as confidential information that is already public
                     23
                          knowledge.
                     24
                                4.     The parties agree that such Confidential Material as described in
                     25
                          paragraph 3 should be given the protection of an order of this Court to prevent
                     26
                          injury through disclosure to persons other than those persons involved in the
                     27
                          prosecution or defense of this litigation.
                     28
F ORD & H ARRISON
       LLP                                                                        [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   Procedure for Designating Information as Confidential
                      2           5.   To designate information as confidential, the producing party shall
                      3   mark Confidential Material with the legend “CONFIDENTIAL” or “HIGHLY
                      4   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”                            Parties shall submit
                      5   confidential discovery responses, such as answers to interrogatories or answers to
                      6   requests for admissions, in a separate document stamped with the appropriate
                      7   legend designating those responses as Confidential Material. The Receiving Party
                      8   may make copies of Confidential Material and such copies shall become subject to
                      9   the same protections as the Confidential Material from which those copies were
                     10   made.
                     11                a. Information on a disk or other electronic format (e.g., a
                     12                native format production) may be designated confidential
                                       by marking the storage medium itself (or the native file’s
                     13                title) with the legend “CONFIDENTIAL” or “HIGHLY
                                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” The
                     14                Receiving Party shall mark any hard-copy printouts and
                                       the storage medium of any permissible copies of such
                     15                electronic material with the corresponding legend
                     16                contained on the original and such copies shall become
                                       subject to the same protections, as the Confidential
                     17                Material from which those copies were made.
                     18                b. Information disclosed at any deposition of a party
                                       taken in this action may be designated by the party as
                     19                confidential by indicating on the record at the deposition
                     20                that the information is confidential and subject to the
                                       provisions of this Order. Alternatively, the party may
                     21                designate information disclosed at the deposition as
                                       confidential by notifying the court reporter and other
                     22                parties in writing, within fifteen (15) business days of
                     23                receipt of the transcript, of the specific pages and lines of
                                       the transcript which are designated as confidential. The
                     24                parties may agree to a reasonable extension of the 15-
                                       business-day period for designation. Designations of
                     25                transcripts will apply to audio, video, or other recordings
                                       of the testimony. During such 15-business-day period,
                     26                the entire transcript shall receive confidential treatment.
                     27                Upon such designation, the court reporter and each party
                                       shall affix the “CONFIDENTIAL” or “HIGHLY
                     28                CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
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       LLP                                                                         [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1                  legend to the designated pages and segregate them as
                                         appropriate.
                      2

                      3           6.     A producing party may change the confidentiality designation of
                      4   materials it has produced, as follows: (1) The producing party must give the
                      5   receiving parties notice of the change by identifying the documents or information
                      6   at issue. Once notice is given, the receiving party must make good-faith efforts to
                      7   ensure that the documents or information are accorded treatment under the new
                      8   designation.     (2) Within a reasonable period after giving notice, the producing
                      9   party must reproduce the documents or information in a format that contains the
                     10   new designation.       (3) If such information has been disclosed to persons not
                     11   qualified pursuant to paragraph(s) (12-13) below, the party who disclosed such
                     12   information shall (a) take reasonable efforts to retrieve previously disclosed
                     13   Confidential Material; (b) advise such persons that the material is Confidential; and
                     14   (c) give the producing party written assurance that steps (a) and (b) have been
                     15   completed.
                     16   Data Security
                     17           7.     The Parties agree to provide adequate security to protect data produced
                     18   by the other party(ies) or by non-parties.        This includes secure data storage
                     19   systems, established security policies, and security training for employees,
                     20   contractors and experts.     Adequate security also includes such measures as data
                     21   encryption in transit, data encryption at rest, data access controls, and physical
                     22   security, whether hosted/outsourced to a vendor or on premises.         At a minimum,
                     23   any receiving party subject to the terms of this Confidentiality Order, will provide
                     24   reasonable measures to protect non-client data consistent with the American Bar
                     25   Association Standing Committee on Ethics and Professional Responsibility, Formal
                     26   Opinion 477R.
                     27   / / /
                     28   / / /
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       LLP                                                                         [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   Clawback Provisions
                      2         8.     The production of privileged or work-product protected documents,
                      3   electronically stored information (ESI) or information, whether inadvertent or
                      4   otherwise, is not a waiver of the privilege or protection from discovery in this case
                      5   or in any other federal or state proceeding.
                      6         9.     This Order shall be interpreted to provide the maximum protection
                      7   allowed by Federal Rule of Evidence (FRE) 502(d) and shall be enforceable and
                      8   granted full faith and credit in all other state and federal proceedings by 28 U.S.
                      9   Code § 1738. In the event of any subsequent conflict of law, the law that is most
                     10   protective of privilege and work product shall apply.
                     11         10.    Nothing contained herein is intended to or shall serve to limit a party’s
                     12   right to conduct a review of documents, ESI or information (including metadata) for
                     13   relevance, responsiveness and/or segregation of privileged and/or protected
                     14   information before production.
                     15         11.    If the receiving party has reason to believe that a produced document
                     16   or other information may reasonably be subject to a claim of privilege, then the
                     17   receiving party shall immediately sequester the document or information, cease
                     18   using the document or information and cease using any work product containing the
                     19   information, and shall inform the producing party of the beginning BATES number
                     20   of the document or, if no BATES number is available, shall otherwise inform the
                     21   producing party of the information.
                     22         12.    A producing party must give written notice to any receiving party
                     23   asserting a claim of privilege, work-product protection, or other ground for
                     24   reclaiming documents or information (a “clawback request”).            After a clawback
                     25   request is received, the receiving party shall immediately sequester the document (if
                     26   not already sequestered) and shall not review or use that document, or any work
                     27   product containing information taken from that document, for any purpose.              The
                     28   parties shall meet and confer regarding any clawback request.
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       LLP                                                                          [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   Who May Receive Confidential and Highly Confidential Information
                      2         13.    Confidential Material. Any Confidential Material and the information
                      3   contained therein shall be disclosed only to the Court, its staff, in-house counsel
                      4   and outside counsel of record for each party, and also shall be disclosed on a need-
                      5   to-know basis only to the parties, counsel’s staff personnel, employees of a party to
                      6   whom disclosure is necessary in connection with the preparation for and trial of this
                      7   action, and any witnesses in the case (including consulting and testifying experts)
                      8   as may from time to time reasonably be necessary in prosecution or defense of this
                      9   action.
                     10         14.    Highly Confidential—Attorneys’ Eyes Only Material. Material and
                     11   information designated as “Highly Confidential—Attorneys’ Eyes Only” shall only
                     12   be disclosed to the Court, its staff, in-house and outside counsel of record for each
                     13   party, the secretarial, clerical, and paralegal staff of each, and consulting and
                     14   testifying experts retained by a party in this action.
                     15         15.    Restriction on Disclosure to Direct Competitors. Notwithstanding the
                     16   foregoing, Confidential Material shall not be disclosed to any current or former
                     17   employees of, or current or former consultants, advisors, or agents of, a direct
                     18   competitor of any party named in the litigation.         If a Receiving Party is in doubt
                     19   about whether a particular entity is a direct competitor of a party named in this
                     20   lawsuit, then before disclosing any Confidential Material to a current or former
                     21   employee, consultant, advisor, or agent of that entity, the Receiving Party’s counsel
                     22   must confer with counsel for the Producing Party.
                     23         16.    Persons Receiving Confidential Information Must Sign Exhibit A.
                     24   Counsel for each party shall advise all persons to whom Confidential Material is
                     25   disclosed pursuant to this Order of the existence of this Order and shall provide all
                     26   such persons (other than the Court and its staff) with a copy of this Order. Counsel
                     27   shall also require such persons to execute the Affidavit attached as Exhibit A, prior
                     28   to the disclosure of Confidential Material.
F ORD & H ARRISON
       LLP                                                                            [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1         17.    Duties in the Event of Unauthorized Disclosures.             It shall be the
                      2   obligation of counsel, upon learning of any unauthorized disclosure or threatened
                      3   unauthorized disclosure of Confidential Information, or any other breach or
                      4   threatened breach of the provisions of this Order, to promptly notify counsel for the
                      5   Producing Party. The notification shall be supplemented with reasonable details of
                      6   the circumstances of the disclosure in order to permit the producing party to
                      7   understand and take appropriate steps.        Each party and its counsel agree to take
                      8   reasonable and good-faith efforts to contain or limit any breach promptly upon
                      9   receiving notice of it, and to make reasonable and good-faith attempts to retrieve
                     10   any unauthorized disclosure of documents or information. This provision does not
                     11   limit the producing party’s entitlement to damages resulting from any breach of this
                     12   Order.
                     13   Authorized Uses of Confidential Material
                     14         18.    Confidential Material shall only be used for the purpose of litigating
                     15   the above-captioned lawsuit and may not be used in other lawsuits.
                     16         19.    Persons having knowledge of Confidential Material and information
                     17   due to their participation in the conduct of this litigation shall use such knowledge
                     18   and information only as permitted herein, and shall not disclose such Confidential
                     19   Material, their contents or any portion or summary thereof to any person(s) not
                     20   involved in the conduct of this litigation.
                     21         20.    If any person having access to the Confidential Material herein shall
                     22   violate this Order, he/she may be subject to sanctions by the Court and may be
                     23   liable to pay for the damages caused by his/her violation.
                     24   Challenges to the Designation of Confidential Material
                     25         21.    Any party or interested member of the public may move the Court to
                     26   modify the designation of any documents or information produced in this litigation
                     27   (either to include additional protection with respect to confidentiality or to remove a
                     28   confidential designation). Before making such a motion, the party or an interested
F ORD & H ARRISON
       LLP                                                                          [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   member of the public shall first attempt to resolve such dispute with the producing
                      2   party’s counsel.      Pending resolution of any challenges to the designation of
                      3   documents or information, the material at issue shall continue to be treated as
                      4   Confidential Material until ordered otherwise by the Court. The burden shall be on
                      5   the party seeking to remove the designation to show that the designation is
                      6   inappropriate.
                      7   Withholding of Information
                      8            22.   Non-relevant Attachments. The parties will not produce non-relevant
                      9   attachments that are attached to relevant emails. When an attachment is withheld
                     10   (either for privilege or non-responsiveness), the producing party shall produce a
                     11   one-page TIFF image in place of the withheld attachment, stating “Attachment
                     12   Withheld”, and bearing a sequential BATES number within the family BATES
                     13   range.     If any attachment to an email contains responsive content, then the cover
                     14   email shall be produced for context, regardless of the cover email’s responsiveness.
                     15   The cover email may be redacted in part to remove sensitive information, as
                     16   described below.
                     17            23.   Redactions. The parties may redact (1) information that is privileged
                     18   or protected from discovery as work product or by reason of any other applicable
                     19   privilege or immunity; (2) information subject to non-disclosure obligations
                     20   imposed by governmental authorities, law or regulation (e.g., protected personal
                     21   information); and (3) sensitive, non-relevant information, including but not limited
                     22   to personally identifiable information, trade secrets, or information regarding
                     23   products, data, or people. Privilege redactions will state, over the redacted portion,
                     24   “Redacted–Privileged,”     and    all   other   redactions   will   state,   “Redacted–
                     25   Nonresponsive.”      Redactions of emails will not redact the names of recipients or
                     26   the subject line of the emails, unless the subject line is itself privileged or contains
                     27   the sensitive information described above, in which case only so much of the
                     28   subject line will be redacted as may be needed. The parties will produce redacted
F ORD & H ARRISON
       LLP                                                                         [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   documents in TIFF format with corresponding searchable OCR text and the
                      2   associated metadata for the document, ensuring the redacted content is fully
                      3   protected from disclosure.
                      4   Confidential Material In Filings, Hearings, and Trial
                      5         24.    Confidential Material in Filings. Without written permission from the
                      6   Producing Party or court order secured after appropriate notice to all interested
                      7   persons, a party may not file Confidential Material in the public record in this
                      8   action (or in any other action, such as an appeal). A party that seeks to file under
                      9   seal any Confidential Material must first obtain an order granting leave to file under
                     10   seal on a showing of a particularized need. Confidential Material may only be filed
                     11   under seal in a manner prescribed by the Court for such filings.
                     12         25.    Manner of Sealing. In the event Confidential Materials or portions of
                     13   transcripts are sealed as confidential by the Court or as described in paragraph (23)
                     14   above, they shall be filed in an envelope bearing the following designation when
                     15   deposited:
                     16                                    CONFIDENTIAL
                     17                IN ACCORDANCE WITH THE CONFIDENTIALITY
                     18                ORDER OF THE COURT, THE CONTENTS OF THIS
                                       ENVELOPE      SHALL     BE   TREATED     AS
                     19                CONFIDENTIAL AND MUST NOT BE SHOWN TO A
                                       PERSON OTHER THAN THE COURT, ATTORNEYS
                     20                IN THIS CASE, OR TO PERSONS ASSISTING THOSE
                                       ATTORNEYS.
                     21

                     22         26.    Confidential Material in Hearings and Trial.       The provisions of this
                     23   Order shall not affect, and this Order does not limit, the admissibility of
                     24   Confidential Material (or references to that material) as evidence at trial, or during a
                     25   hearing or similar proceeding in this action. Prior to using Confidential Material or
                     26   the information contained therein at any hearing that is open to the public, the party
                     27   seeking to use the Confidential Material must give at least seven (7) days advance
                     28
F ORD & H ARRISON
       LLP                                                                         [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   notice to the producing party of the intent to use the Confidential Material so that
                      2   the producing party may seek an appropriate Court Order to protect the
                      3   Confidential Material.
                      4   Continuing Effect of this Order and Duty to Destroy
                      5         27.    This Order shall continue to be binding throughout and after the
                      6   conclusion of this litigation, including all appeals.      Within thirty (30) days of
                      7   settlement or final adjudication, including the expiration or exhaustion of all rights
                      8   to appeal or petitions for extraordinary writs, each party or non-party to whom any
                      9   materials were produced shall, without further request or direction from the
                     10   Producing Party, promptly destroy all documents, items or data received including,
                     11   but not limited to, copies or summaries thereof, in the possession or control of any
                     12   expert or employee. This requirement to destroy includes all documents, not only
                     13   those documents designated as Confidential Material.        The Receiving Party shall
                     14   submit a written certification to the Producing Party by the 30-day deadline that (1)
                     15   confirms the destruction/deletion of all Confidential Material, including any copies
                     16   of Confidential Materials provided to persons required to execute Exhibit A
                     17   (Affidavit), and (2) affirms the Receiving Party has not retained any copies,
                     18   abstracts, compilations, summaries or any other format reproducing or capturing
                     19   any of the Confidential Material. Notwithstanding this provision, outside counsel
                     20   is entitled to retain an archival copy of filings, depositions, and deposition exhibits.
                     21   Procedure if Confidential Material Is Required to be Produced
                     22         28.    If any person receiving documents covered by this Order is served
                     23   with a subpoena, order, interrogatory, or document or civil investigative demand
                     24   (collectively, a “Demand”) issued in any other action, investigation, or proceeding,
                     25   and such Demand seeks material that was produced or designated as Confidential
                     26   Material by someone other than the Receiving Party, the Receiving Party shall give
                     27   prompt written notice by hand or electronic transmission within five (5) business
                     28   days of receipt of such Demand to the party or non-party who produced or
F ORD & H ARRISON
       LLP                                                                          [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   designated the material as Confidential Material, and shall object to the production
                      2   of such materials on the grounds of the existence of this Order. At the request of the
                      3   party or non-party who produced or designated the material as Confidential
                      4   Material, the Receiving Party shall refuse to comply with the Demand unless (a)
                      5   ordered to do so by a court with jurisdiction over the Receiving Party; or (b)
                      6   released in writing by the party or non-party who designated the material as
                      7   Confidential Material.    The burden of opposing the enforcement of the Demand
                      8   shall fall upon the party or non-party who produced or designated the material as
                      9   Confidential Material. Compliance by the Receiving Party with any order of a court
                     10   of competent jurisdiction, directing production of any Confidential Material, shall
                     11   not constitute a violation of this Order.
                     12   Application of this Order to Productions by Third Parties
                     13         29.    This Order may be used by third parties producing documents in
                     14   connection with this action.         Third parties may designate information as
                     15   Confidential or Highly Confidential – Attorneys’ Eyes Only.
                     16         30.    If a third party produces (or intends to produce) documents and does
                     17   not designate (or does not intend to designate) those documents as Confidential
                     18   Material, then any party to this action may seek to designate that third party’s
                     19   documents or categories of documents as Confidential Material. In that case, it will
                     20   be the burden of the party seeking protected status to move for a court order
                     21   designating the materials as Confidential Material after the parties confer.
                     22         31.    In the event additional parties join or intervene in this litigation, the
                     23   newly joined party(ies) shall not have access to Confidential Material until its/their
                     24   counsel has executed and, at the request of any party, filed with the Court the
                     25   agreement of such party(ies) and such counsel to be fully bound by this Order.
                     26         32.    The parties agree that nothing in this Order shall be deemed to limit
                     27   the extent to which counsel for the parties may advise or represent their respective
                     28   clients, conduct discovery, prepare for trial, present proof at trial, including any
F ORD & H ARRISON
       LLP                                                                        [PROPOSED] PROTECTIVE ORDER ON ESI
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                      1   production or admissibility of any information or documents which have been
                      2   requested.
                      3         33.    This Order shall remain in full force and effect until such time as it is
                      4   modified, amended, or rescinded by the Court.
                      5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD
                      6

                      7                                          Respectfully submitted,
                      8   Dated: October 20, 2021                FORDHARRISON LLP
                      9
                     10                                          By: /s/ Terry L. Higham___________
                     11
                                                                    Terry L. Higham
                                                                    Mohammad B. Shihabi
                     12                                          Attorneys for Defendant
                     13

                     14   Dated: October 20, 2021                THE GUHA LAW FIRM

                     15                                          By:_/s/Ranojoy Guha_______________
                     16                                             Ranojoy Guha
                                                                 Attorneys for Plaintiff
                     17

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                     19
                          FOR GOOD CAUSE APPEARING IT IS SO ORDERED.
                     20
                                         21 2021
                          Dated: October __,
                     21

                     22
                                                                _____________________________________
                     23                                               Hon. Shashi H. Kewalramani
                     24                                               United States Magistrate Judge
                     25

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F ORD & H ARRISON
       LLP                                                                        [PROPOSED] PROTECTIVE ORDER ON ESI
 ATTO RNEY S AT LAW
                                                                  - 13 -        AGREEMENT AND PRODUCTION PROTOCOL
   L OS A NGE LE S
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                      1
                                                               Attestation
                      2
                                Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that Ranojoy
                      3
                          Guha, on whose behalf this filing is jointly submitted, has concurred in this filing
                      4
                          content and has authorized me to file this document.
                      5
                                                                 By: _/s/ Terry L. Higham____________
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                                                                       Terry L. Higham
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F ORD & H ARRISON
       LLP                                                                         [PROPOSED] PROTECTIVE ORDER ON ESI
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                      6                        UNITED STATES DISTRICT COURT

                      7                      CENTRAL DISTRICT OF CALIFORNIA

                      8

                      9
                          DELIA GONZALES,                             Case No. 5:21-cv-01231-SVW-SHK

                     10
                                          Plaintiff,
                                                                      AFFIDAVIT OF COMPLIANCE
                     11
                                 v.                                   WITH CONFIDENTIALITY
                                                                      ORDER
                     12
                          WALMART, INC., a Delaware
                          Corporation; and DOES 1 through 50,
                     13
                          inclusive,                                  Action filed:    4/28/2021
                                                                      Date of Removal: 7/23/2021
                     14
                                          Defendants.

                     15

                     16         1.     I ___________________ [print or type full name], of
                     17   _________________ [print or type full address], declare under penalty of perjury of
                     18   the laws of the United States of America, that I have read in its entirety and
                     19   understand the Stipulated Protective Order that was issued by the United States
                     20   District Court for the Central District of California on _______ in the case of Delia
                     21   Gonzalez v. WalMart, Inc., bearing United States District Court for the Central
                     22   District of California, bearing case no. 2:21-cv-01231-SVW-SHK. I am working
                     23   on behalf (or at the direction and engagement) of __________________________.
                     24         2.     I am aware that a Confidentiality Order has been entered in the above-
                     25   captioned lawsuit. A copy of this Confidentiality Order has been given to me, and I
                     26   have read and understand the provisions of same.
                     27         3.     I acknowledge that documents and information designated as
                     28   confidential and/or highly confidential pursuant to such Confidentiality Order
F ORD & H ARRISON
       LLP                                                                         [PROPOSED] PROTECTIVE ORDER ON ESI
 ATTO RNEY S AT LAW
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   L OS A NGE LE S
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                      1   (“Confidential Materials”) are being disclosed to me only upon the conditions that I
                      2   agree (a) to be subject to the jurisdiction of this Court, and (b) to comply with that
                      3   Order. I hereby agree to abide by such Order, subject to all penalties prescribed
                      4   therein, including contempt of Court, for disobedience of said Order. I promise that
                      5   the documents and information given confidential treatment under the
                      6   Confidentiality Order entered in this case will be used by me only to assist counsel
                      7   for the parties in preparing for litigation of the above-captioned matter. I understand
                      8   that any use of such Confidential Material in any manner contrary to the provisions
                      9   of the Confidentiality Order may subject me to the sanctions of this Court for
                     10   contempt and to liability for any damages caused by my breach of the
                     11   Confidentiality Order.
                     12         4.     I shall not disclose nor permit to be reviewed or copied said
                     13   Confidential Materials, or any information derived from, by any person other than
                     14   the parties and counsel for the parties or members of their staff.
                     15         5.     Within 30 days after the above-captioned lawsuit ends in a final non-
                     16   appealable order, I agree to destroy all Confidential Materials in my possession.
                     17         6.     I agree to comply with and to be bound by all the terms of this
                     18   Stipulated Protective Order and I understand and acknowledge that failure to so
                     19   comply could expose me to monetary sanctions and punishment in the nature of
                     20   contempt.
                     21         7.     I further agree to submit to the jurisdiction of the United States District
                     22   Court for the Central District of California for the purpose of enforcing the terms of
                     23   this Stipulated Protective Order, even if such enforcement proceedings occur after
                     24   termination of this action.
                     25
                          DATED: ______________, 20___                      _______________________________
                                                                            Signature
                     26
                                                                  ____________________________________
                     27                                                Printed Name
                     28
F ORD & H ARRISON
       LLP                                                                          [PROPOSED] PROTECTIVE ORDER ON ESI
 ATTO RNEY S AT LAW
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                      1                                    PROOF OF SERVICE
                      2           I, Esperansa Reinold, declare:
                      3         I am a citizen of the United States and employed in Los Angeles County,
                          California. I am over the age of eighteen years and not a party to the within-entitled
                      4   action. My business address is 350 South Grand Avenue, Suite 2300, Los Angeles,
                          California 90071. On October 20, 2021, I served a copy of the within document(s):
                      5
                                                  [PROPOSED] PROTECTIVE ORDER ON
                      6                      ESI AGREEMENT AND PRODUCTION PROTOCOL
                      7
                                         ELECTRONICALLY: I caused a true and correct copy thereof to be
                      8                   electronically filed using the Court's Electronic Court Filing ("ECF")
                                          System and service was completed by electronic means by transmittal
                      9                   of a Notice of Electronic Filing on the registered participants of the
                                          ECF System. I served those parties who are not registered participants
                     10                   of the ECF System as indicated below.
                     11                  by placing the document(s) listed above in a sealed envelope with
                                          postage thereon fully prepaid, in the United States mail at Los Angeles,
                     12                   California addressed as set forth below. I am readily familiar with the
                                          firm's practice of collection and processing correspondence for
                     13                   mailing. Under that practice it would be deposited with the U.S. Postal
                                          Service on that same day with postage thereon fully prepaid in the
                     14                   ordinary course of business. I am aware that on motion of the party
                                          served, service is presumed invalid if postal cancellation date or
                     15                   postage meter date is more than one day after date of deposit for
                                          mailing in affidavit.
                     16
                                         by e-mail or electronic transmission. Based on an agreement of the
                     17                   parties to accept service by e-mail or electronic transmission, I caused
                                          the documents to be sent on the date shown below to the e-mail
                     18                   addresses of the persons listed below.
                     19            Ranojoy Guha                                          Attorneys for Plaintiff
                                   THE GUHA LAW FIRM
                     20            1100 Town and Country Road
                                   Suite 1250
                     21            Orange, CA 92868
                                   Telephone: 310-564-6041
                     22            E-mail: raj@guhalaw.com
                     23        I declare under penalty of perjury under the laws of the United States of
                          America that the above is true and correct.
                     24
                                  Executed on October 20, 2021 at Los Angeles, California.
                     25

                     26                                             ______________________________
                                                                    Esperansa Reinold
                     27   WSACTIVELLP:12583660.3

                     28
F ORD & H ARRISON
       LLP                                                                           [PROPOSED] PROTECTIVE ORDER ON ESI
 ATTO RNEY S AT LAW
                                                                     - 17 -        AGREEMENT AND PRODUCTION PROTOCOL
   L OS A NGE LE S
